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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

  UNITED STATES OF AMERICA                        CRIMINAL CASE NO. 16-0057-01

  VERSUS                                          JUDGE S. MAURICE HICKS, JR.

  TYQUARIO DERELL ADAMS                           MAGISTRATE JUDGE HORNSBY


                                           ORDER
          Before the Court is a Motion to Appoint Counsel for Appeal, filed by Defendant’s

  power of attorney. See Record Document 290. The motion advises that Defendant’s

  retained counsel has been terminated and an appointment of new counsel is requested

  in order to file an appeal immediately. See id. The motion was received by the Court after

  more than thirty days had passed from the entry of judgment on revocation.

          The motion is hereby GRANTED. The Federal Public Defender’s Office

  is appointed to serve as appellate counsel and prosecute Defendant's appeal, if

  an appeal can be pursued despite any potential untimeliness.

          THUS DONE AND SIGNED at Shreveport, Louisiana, on this 16th day of August,

  2021.
